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    UNITED STATES DISTRICT COURT
   NORTHERN DISTRICT OF CALIFORNIA                                          BILL OF COSTS                                                            C O U R T US E O N L Y
                                                                                                                                      OBJECTION DEADLINE:
     Form CAND 133 (Rev. 10/2021)                   Please follow the instructions on page 3 when completing this form.
                                                                                                                                      OBJECTION FILED: YES ☐            NO ☐
1. CASE NAME                                                   2. CASE NUMBER                     3. DATE JUDGMENT ENTERED          4. PARTY AGAINST WHOM JUDGMENT WAS ENTERED
HAROLD DAVIS v. PINTEREST, INC.                                4:19-cv-07650-HSG                  May 3, 2022                       Harold Davis



5. NAME OF CLAIMING PARTY                                      6. NAME OF ATTORNEY FOR CLAIMING PARTY (or indicate “PRO SE”)        7. PHONE AND EMAIL OF CLAIMING PARTY, IF PRO SE
Pinterest, Inc.                                                David H. Kramer



8. REQUEST TO TAX THE FOLLOWING AS COSTS:                                                                                    (SHADED AREAS ARE FOR COURT USE ONLY)

             COST ITEM                  AMOUNT CLAIMED        LIST SUPPORTING DOCUMENTATION                  Amt Allowed         Disallowed               Disallowance Reason
                                                                                                                                                              Code/Notes
 a. FEES OF THE CLERK AND FOR SERVICE OF PROCESS

  Filing Fees and Docket Fees,                  $317.00   Declaration of D. Kramer ISO Bill of Costs,
  Civil LR 54-3(a)(1), 18 U.S.C.                           Exhibit A (ECF Notice)
  1923

  Service of Process, Civil LR 54-
  3(a)(2)

 b. REPORTERS’ TRANSCRIPTS

  Transcripts for appeal, Civil LR
  54-3(b)(1)

  Rulings from the bench, Civil LR
  54-3(b)(2)

  Other transcripts (by order or
  stipulation), Civil LR 54-3(b)(3)

 c. DEPOSITIONS

  Deposition transcript/video                $19,093.23   Declaration of D. Kramer ISO Bill of Costs,
  recording, Civil LR 54-3(c)(1)                           Exhibit B (Invoices)

  Deposition exhibits, Civil LR 54-           $3,712.00   Declaration of D. Kramer ISO Bill of Costs,
  3(c)(3)                                                  Exhibit B (Invoices)

  Notary & reporter attendance
  fees, Civil LR 54-3(c)(4),(5)

 d. REPRODUCTION, EXEMPLIFICATION

  Government records, Civil LR
  54-3(d)(1)

  Disclosure/formal discovery                 $4,689.86   Declaration of D. Kramer ISO Bill of Costs,
  documents, Civil LR 54-3(d)(2)                           Exhibit C (Internal Records and Invoices)

  Trial exhibits, Civil LR 54-3(d)(4)
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  Visual aids, Civil LR 54(d)(5)

 e. WITNESS FEES AND EXPENSES

  Total from itemized Witness
  Fees worksheet,* Civil LR 54(e)

 f. COURT-APPOINTED PROFESSIONALS, INTERPRETERS

  Fees for special masters &
  receivers, Civil LR 54-3(f)

  Court-appointed experts,
  28 USC § 1920(6)

  Interpreters and special
  interpretation services, 28 USC
  §§ 1828, 1920(6)

 g. MISCELLANEOUS COSTS

  Costs on appeal, Civil LR 54-
  3(g) & FRAP 39

  Costs of bonds and security,
  Civil LR 54-3(h)

 TOTAL AMOUNT                                 $27,812.09                                                          $    0.00                  $    0.00

9. ADDITIONAL COMMENTS, NOTES, ETC:


10. AFFIDAVIT PURSUANT TO 28 USC § 1924: I declare under penalty of perjury that the foregoing             11. Costs are taxed in the amount of                    and included in the judgment.
costs are correct and were necessarily incurred in this action and that the services for which fees have
been charged were actually and necessarily performed.                                                      Mark B. Busby
Name of Attorney/Claiming Party:                                                                           Clerk of Court

SIGNATURE: /s David H. Kramer                                               DATE: May 17, 2022             BY:                                     Deputy Clerk                DATE:



                                                 *WITNESS FEES/EXPENSES COMPUTATION WORKSHEET FOR ITEM 8.e OF REQUEST TO TAX COSTS (28 USC 1821)

                                                                                   ATTENDANCE                               SUBSISTENCE                          TRAVEL/MILEAGE               TOTAL COST
         WITNESS NAME , CITY AND STATE OF RESIDENCE                              # Days               $ Cost             # Days               $ Cost     Travel Cost or                            Per Witness
                                                                                                                                                                                $ Cost
                                                                                                                                                           # Miles POV


                                                                                                                              TOTAL WITNESS FEES/EXPENSES                                                   $
